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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     WAYCROSS DIVISION


DR. MAHENDRA AMIN, M.D.,

                     Plaintiff,                         Case No. 5:21-cv-00056-LGW-BWC

       v.                                               MOTION TO FILE UNDER SEAL
                                                        AND MEMORANDUM IN SUPPORT
NBCUNIVERSAL MEDIA, LLC,

                     Defendant.




       Defendant NBCUniversal Media, LLC (“NBCU”) respectfully submits this motion to seal

Exhibit 19 to the Declaration of Elizabeth A. McNamara in support of its Motion for Summary

Judgment (Dkt 136-19), which was inadvertently filed without redactions, and to replace it with

the attached corrected Exhibit 19, which contains redactions.

                                  FACTUAL BACKGROUND

       On December 19, 2023, NBCU filed a motion for summary judgment in the above-

referenced action.     In support of its motion, NBCU filed the Declaration of Elizabeth A.

McNamara, which attached 148 exhibits. See Dkt. 136. Because some of those exhibits contained

personal information deemed “Confidential” by Dr. Amin or third-parties under the protective

order in this action, see Dkt. 42, those documents were filed either under seal or with redactions.

NBCU filed a concurrent motion to seal the documents, see Dkt. 140, which the Court granted on

January 2, 2024, see Dkt. 148.

       It has recently come to the attention of the undersigned counsel that Exhibit 19 to the

McNamara Declaration was inadvertently produced with the redacted text visible. Accordingly,
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NBCU now seeks to seal the current version of Exhibit 19 and replace it with the corrected,

redacted document attached to this Motion.

                                               ARGUMENT

        While the right of public access is an essential component of our judicial system, see

Romero v. Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007), this right is not absolute and

“may be overcome by a showing of good cause,” Beck v. Shinseki, 2014 WL 693000, at *1 (S.D.

Ga. Feb. 21, 2014); Hodges v. Chatham Cnty., 2023 WL 2541123, at *1 (S.D. Ga. Mar. 16, 2023).

“A good cause inquiry involves balancing the asserted right of access against the other party’s

interest in keeping the information confidential.” Factors that a court should consider in making

this inquiry include:

        whether allowing access would impair court functions or harm legitimate privacy
        interests, the degree of and likelihood of injury if made public, the reliability of the
        information, whether there will be an opportunity to respond to the information,
        whether the information concerns public officials or public concerns, and the
        availability of a less onerous alternative to sealing the documents.

Romero, 480 F.3d at 1246.

        NBCU previously argued that good cause existed to seal Exhibit 19 because it contains

personal information about third-parties to this action, including medical information.                      See

Prospero v. Prescott, 2022 WL 19837318, at *2 (S.D. Ga. July 15, 2022) (permanently sealing

“embarrassing” and “stigmatizing” medical records).1 This Court agreed, granting NBCU’s

motion to seal. See Dkt. 148. These reasons are equally applicable now. Plaintiff’s counsel

consents to the sealing and replacing of this document.




1
 A more fulsome explanation of the reasons for sealing can be found in NBCU’s original motion to seal. See Dkt.
140.


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                                        CONCLUSION

       For the foregoing reasons, NBCU respectfully requests that the Court order Docket Entry

136-19 sealed and replace it with the redacted Exhibit 19 attached to this Motion.

Dated: January 26, 2024

                                             /s/ Elizabeth A. McNamara
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 26th of January, 2024, a true and correct copy of the

foregoing document was served upon the following via the Court’s electronic filing system:


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